CaSe 2:05-cr-20142-.]DB Document 37 Filed 07/05/05 Page l of 2 Page|D 36

`Fu.m ev __[YL. D-G-
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

wESTERN DIVISIoN 05JUL'5 PH \‘59
?MMM
UNITED STATES oF AMERICA, CE§B%§§§§§§£§J“
Plaintiff,
vs. Cr. No. 05-20142*B

CALVIN MCNARY,

Defendant.

 

ORDER GRANTING MOTION TO EXTEND TIME IN
WHICH TO FILE PRETRIAL MOTIONS

 

For good cause Shown, the Court hereby GRANTS Defendant'$

Motion to Extend Time in Which to File Pretrial MOtionS. Defendant

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has until the / Of /Avg¢§*\ , 13<3{ ih which

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to file any pretrial motions.

S$K
IT IS SO ORDERED, this the day of

2005. <:) f
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D DANIEL J. BREEN
N:T D STATES DISTRICT coURT

 

This document entered on the docket sheet |n compliance 5
with Ru|e 55 and/or 32(\;)) FHCrP on 2 15 115

 

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Honorable J. Breen
US DISTRICT COURT

